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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 JAMES FICKEN, trustee,
 SUNCOAST FIRST TRUST; and
 SUNCOAST FIRST TRUST,

       Plaintiffs,

       vs.                                               Case No.: 8:19-cv-01210
                                                         State Court Case No.: 19-003181-CI
 CITY OF DUNEDIN, FLORIDA;
 DUNEDIN CODE ENFORCEMENT BOARD;
 MICHAEL BOWMAN, in his official capacity as Code
 Enforcement Board Chairman; LOWELL SUPLICKI,
 in his official capacity as Code Enforcement Board
 Vice-Chair; ARLENE GRAHAM, in her official
 capacity as a member of the Code Enforcement Board;
 KEN CARSON, in his official capacity as a member
 of the Code Enforcement Board; WILLIAM
 MOTLEY, in his official capacity as a member
 of the Code Enforcement Board; DAVE PAULEY,
 in his official capacity as a member of the Code
 Enforcement Board; and BUNNY DUTTON, in
 her official capacity as a member of the Code
 Enforcement Board,

       Defendants.
                                                 /

        DECLARATION OF ARI S. BARGIL IN SUPPORT OF JOINT MOTION
            TO VACATE PRETRIAL SCHEDULE PENDING DECISION
              ON CROSS-MOTIONS FOR SUMMARY JUDGMENT


  Andrew H. Ward (NY Bar No. 5364393)**              Ari S. Bargil (FL Bar No. 71454)*
  INSTITUTE FOR JUSTICE                              INSTITUTE FOR JUSTICE
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  **Admitted Pro Hac Vice                            *Trial Counsel
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         I, Ari S. Bargil, hereby declare as follows:

         1.      I am a citizen of the United States, a resident of Florida, over the age of 18 years

 old, and fully competent to make this declaration. I knowingly and voluntarily make this

 declaration based on my personal knowledge. If called as a witness, I could and would testify

 competently under oath as to the facts set forth below.

         2.      I am an attorney at the law firm the Institute for Justice, and I am the lead attorney

 representing the Plaintiffs in this case.

         3.      My wife is pregnant and due to deliver later this August. This will be the first

 child for both of us.

         4.      I believe that it will be difficult to both care for my new son and wife and prepare

 for a trial in October.



         I declare under penalty of perjury that the foregoing is true and correct.


 Dated: August 20, 2020

                                         /s/ Ari S. Bargil
                                         INSTITUTE FOR JUSTICE




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